     Case 1:09-cv-00430-AWI-EPG Document 483 Filed 09/14/17 Page 1 of 2
     Allison A. Davis (State Bar No. 139203)
 1   Sanjay M. Nangia (State Bar No. 264986)
 2   DAVIS WRIGHT TREMAINE LLP
     505 Montgomery Street, Suite 800
 3   San Francisco, CA 94110
     Telephone: (415) 275-6580
 4   Facsimile: (415) 276 4880
     allisondavis@dwt.com
 5
     sanjaynangia@dwt.com
 6
     Charles M. English, pro hac vice
 7   DAVIS WRIGHT TREMAINE LLP
     1919 Pennsylvania Avenue, NW, Suite 800
 8   Washington, D.C. 20006-3402
     Telephone: (202) 973-4200
 9
     Facsimile: (202) 973-4499
10   chipenglish@dwt.com

11   Attorneys for Defendant DairyAmerica, Inc.
12
                                  UNITED STATES DISTRICT COURT
13

14                            THE EASTERN DISTRICT OF CALIFORNIA

15                                         FRESNO DIVISION
16   GERALD CARLIN, JOHN RAHM, PAUL                   )   Case No. 1:09-CV-00430-AWI (EPG)
17   ROZWADOWSKI and DIANA WOLFE,                     )
     individually and on behalf of themselves and all )
18   others similarly situated,                       )   ORDER GRANTING DAIRYAMERICA,
                                                      )   INC.’S REQUEST TO SEAL
19                  Plaintiffs,                       )   DOCUMENTS AND FILE REDACTED
                                                      )   VERSIONS
20           v.                                       )
21                                                    )
     DAIRYAMERICA, INC., et al.,                      )
22                                                    )
                    Defendants.                       )
23                                                    )
24

25

26
27

28



                                                    1
                                 Case 1:09-cv-00430-AWI-EPG Document 483 Filed 09/14/17 Page 2 of 2

                             1                                                        ORDER
                             2              This matter comes before the Court on Defendant DairyAmerica, Inc.’s (“DairyAmerica”)
                             3   Request to Seal Documents and File Redacted Versions (the “Request”) pursuant to Local Rules
                             4   140 and 141. Having considered the Request, papers submitted in support and opposition, and
                             5   good cause appearing, the Request is GRANTED.
                             6              IT IS HEREBY ORDERED,
                             7              Pursuant to Local Rule 141(e)(2)(i), DairyAmerica, Inc. shall submit unredacted versions
                             8   of the following documents to ApprovedSealed@caed.uscourts.gov: 1
                             9              1.      DairyAmerica’s Request for Reconsideration by the District Court of the
                            10   Magistrate Judge’s Ruling Awarding Sanctions.
DAVIS WRIGHT TREMAINE LLP




                            11              Upon entry of this Order and after Defendant DairyAmerica, Inc. has submitted the
                            12   unredacted versions, Defendant DairyAmerica shall file redacted versions of the above document
                            13   directly via CM/ECF.
                            14
                                 IT IS SO ORDERED.
                            15

                            16         Dated:      September 13, 2017                              /s/
                                                                                             UNITED STATES MAGISTRATE JUDGE
                            17

                            18

                            19

                            20

                            21

                            22

                            23

                            24

                            25

                            26
                            27

                            28
                                 1
                                     http://www.caed.uscourts.gov/caednew/index.cfm/cmecf-e-filing/submission-of-sealed-documents/


                                                                                         2
